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 4                           UNITED STATES DISTRICT COURT
 5                          EASTERN DISTRICT OF CALIFORNIA
 6   ROBERT HARRIS,                             1:07-CV-01210-OWW-SMS
 7                                Plaintiff,    ORDER RE DEPOSITION
 8                                              TRANSCRIPT EXCERPTS
                       v.
 9   CITY OF FRESNO,
10                                Defendant.
11
12          In opposition to Defendant City of Fresno’s pending motion for

13   summary judgment or, in the alternative, summary adjudication (Doc.

14   25), Plaintiff’s counsel submitted a declaration (Doc. 38-2) to

15   which counsel attached, as exhibits, excerpts from the deposition

16   of Robert Harris (Plaintiff), Neil Montgomery, Robert Little, and

17   Lon Martin. Defendant City of Fresno objects to the transcripts as

18   not properly authenticated in that the transcript excerpts are not

19   accompanied by a reporter’s certification.1 Consistent with Rule

20   56(e)(1), the court will permit Plaintiff’s counsel to supplement

21   his declaration as stated below.

22   ///

23   ///

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            1
            While many pages of Plaintiff’s deposition transcript are
26   included in Defendant City of Fresno’s moving papers (thus
27   precluding the City from successfully objecting to the authenticity
     of these pages for purposes of summary judgment), at least one page
28   is not, and Plaintiff relies on testimony from this page.

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 1            Plaintiff’s counsel has until 3:00 p.m. on May 13, 2009, to
 2   electronically file a supplemented declaration that includes the
 3   same      deposition        testimony    accompanied    by   the   reporter’s
 4   certifications.           No courtesy copies to the court are required.
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 6   IT IS SO ORDERED.
 7   Dated:     May 12, 2009                      /s/ Oliver W. Wanger
     9i274f                                  UNITED STATES DISTRICT JUDGE
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